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                     EXHIBIT “C”
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                                                   BROKER PROPERTY ANALYSIS and VALUE
                                                   Date             07/27/2007
                                                   Broker Firm Name REM Corp
                                                   Address          6900 Main St
                                                   City, State, Zip Downers Grove, IL 60516
P.O. Box 970                                       Agent Name       Karen Blain Uram
Downers Grove, IL 60515-0970
                                                   Phone                352-528-2092
WOID: 226035 ACCESS#: 662103
                                                 SUBJECT PROPERTY
Servicer Loan No 1502826455                          Assessed $ 35,700.00                  Ann. Taxes $ 458.11
Address 240 Marino St (aka: 561 Downing Lake Dr) County                                    Unit No.
City High Springs                                    State FL                              Zip 32643
Legal Description 10-78-17 0200/022 4.05 acres lot 1 oleno estates,
Occupied Yes        No X                             Exterior Inspection X               Interior Inspection
PROPERTY TYPE SFD X                    Townhouse               Condo               Multi Family           PUD

                                       PROPERTY WITH RECENT COMPARABLE SALES

      Item                   Subject                 Comparable 1             Comparable 2               Comparable 3
                      240 Marino St (aka: 561
Address                                         436 SW RANDOLPH CT           22988 NW 180 PL            168 HARDIN CT
                        Downing Lake Dr)
Proximity to               SUBJECT                         6.8 MI                 6.9 MI                       2.0 MI
Listing Price     $                             $69,900                $79,900                      $89,900
Sale Amount       $                             $57,000                $69,600                      $75,000
Sale Date                                             01/18/2007               10/04/2006                 10/25/2006
Days on Market                                              79                     104                           250
Levels/Style                                              1/RANCH                1/RANCH                      1/RANCH
Exterior Const.         WOOD/PLYWOOD               WOOD/PLYWOOD              WOOD/PLYWOOD              WOOD/PLYWOOD
Square Feet                    1152                         720                   1092                           1296
Age                      22 YEARS OLD               38 YEARS OLD              29 YEARS OLD               30 YEARS OLD
Basement                      NONE                         NONE                   NONE                         NONE
Total Rooms                      7                           6                      7                             7
# Bed Rooms                      3                           2                      2                             2
# Baths                          2                           2                      2                             2
Family Room                   NONE                         NONE                   NONE                         NONE
Garage/# Car                  NONE                         NONE                   NONE                         NONE
Lot Size                     4.05 acres                   4 ACRES                2 ACRES                  1.07 ACRES
Overall Cond.                   fair                       FAIR                   FAIR                           FAIR
Design/Appeal               ranch/little            RANCH/LITTLE              RANCH/FAIR                 RANCH/FAIR


Comments
 OLDER MOBILE HOME ON 4.05 ACRES ON PAVED ROAD IN VERY RURAL PART OF HIGH SPRINGS, FL. NO
OBVIOUS STRUCTURAL DAMAGE NOTED FROM ROADSIDE VIEW

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                                                    PAGE TWO of TWO

                                                    BROKER PROPERTY ANALYSIS and VALUE

                                                    Date                       07/27/2007
P.O. Box 970
Downers Grove, IL 60515-0970
                                                    Servicer Loan No 1502826455

                                                   COMPETITIVE LISTINGS

      Item                  Subject                  Comparable 1                   Comparable 2                  Comparable 3
                    240 Marino St (aka: 561
Address                                          143 SE GULLIVER CT              6414 NW ST RD 45             24327 NW 90 PLACE
                      Downing Lake Dr)
Proximity to              SUBJECT                          10.9 MI                        13.8 MI                       12.6 MI
Listing Price     $                             $99,900                        $105,000                      $109,900
Days on Market                                              119                             98                            83
Levels/Style                                           1/RANCH                        1/RANCH                       1/RANCH
Exterior Const.        WOOD/PLYWOOD                WOOD/PLYWOOD                  WOOD/PLYWOOD                  WOOD/PLYWOOD
Square Feet                  1152                           840                            1072                          924
Age                     22 YEARS OLD                11 YEARS OLD                   30 YEARS OLD                  25 YEARS OLD
Basement                    NONE                           NONE                           NONE                          NONE
Total Rooms                    7                              6                              7                             7
# Bed Rooms                    3                              2                              2                             2
# Baths                        2                              1                              2                             2
Family Room                 NONE                           NONE                           NONE                          NONE
Garage/# Car                 NONE                           NONE                          NONE                          NONE
Lot Size                  4.05 acres                  6.13 ACRES                    2.97 ACRES                      5 ACRES
Overall Cond.                 fair                         GOOD                            FAIR                          FAIR
Design/Appeal             ranch/little              RANCH/GOOD                      RANCH/FAIR                    RANCH/FAIR


Comments



                                         90-120 Day "As Is"              30-60 Day Quick Sale           90-120 Day "As Repaired"
Estimated Sale Price            $59,303                              $59,303                           N/A
Estimated List Price            $59,303                              $59,303                           N/A

Suggested repairs and improvements:
CANNOT DETERMINE IF ANY REPAIRS ARE REQUIRED FROM ROADWIDE VIEW OF SUBJECT PROPERTY

This report is not an appraisal. The purpose of this report is to obtain information that supports strategy and an analysis of
the most likely sales prices for this property.
